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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                      CASE NO. 21-CR-20495-WILLIAMS/MACALILEY


  UNITED STATES OF AMERICA,

  v.

  MICHAEL J. VAN NOSTRAND and STRICTLY
  REPTILES, INC.,
        Defendant(s).
  _________________________________________/

                                   NOTICE OF APPEARANCE

        Jeffrey E. Marcus, Esq. hereby enters his appearance as counsel on behalf of Defendants

 Michael J. van Nostrand and Strictly Reptiles, Inc. in the above-captioned matter, and respectfully

 requests that copies of all future pleadings, orders, and other papers be provided to the undersigned.

 Date: October 4, 2021

                                                       Respectfully submitted,

                                                       /s/ Jeffrey E. Marcus
                                                       Jeffrey E. Marcus
                                                       Fla Bar No. 310890

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                                                       PINEIRO LLP
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                                                       Counsel for Defendants




                                  CERTIFICATE OF SERVICE
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        I hereby certify that on October 4, 2021, a true and correct copy of the foregoing was

 served via CM/ECF on all counsel or parties of record.


                                                     By:     /s/ Jeffrey E. Marcus
                                                             Jeffrey E. Marcus




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